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7                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
8

9    UNITED AFRICAN-ASIAN                       Case #: 3:23-cv-00263-W-BGS
     ABILITIES CLUB, ON BEHALF OF
10
     ITSELF AND ITS MEMBERS;                    NOTICE OF VOLUNTARY
11   JAMES LEE, An Individual                   DISMISSAL WITH PREJUDICE OF
12
                                                ENTIRE ACTION AFTER
                         Plaintiffs,            SETTLEMENT
13

14         v.                                   [Fed. R. Civ. P. Rule 41(a)(1)]
15
     GOLD COAST PACIFICA
16   PARTNERS, L.P.; and DOES 1
     THROUGH 10, Inclusive
17

18                              Defendants
19

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24   ///
25   ///
26   ///
27                                                                                   1

28                                           Dismissal With Prejudice Of Entire Action
                                                           Case# 3:23-cv-00263-W-BGS
       Case 3:23-cv-00263-W-BGS Document 5 Filed 04/20/23 PageID.89 Page 2 of 4


1          IT IS HEREBY NOTICED by the Plaintiffs, pursuant to Federal Rules of Civil
2    Procedure Rule 41 (a)(1) (A)(i), that all the Plaintiffs hereby dismiss WITH prejudice
3
     all the Defendants and the Action in its entirety. A plaintiff has the absolute right to
4
     dismiss the action by filing “a notice of dismissal before the opposing party serves
5
     either an answer or a motion for summary judgment.” [FRCP 41(a)(1)(A)(i)] ; see
6
     Commercial Space Mgmt. Co., Inc. v. Boeing Co., Inc. (9th Cir. 1999) 193 F3d 1074,
7
     1077. In the present matter, Defendants have not filed an Answer or a motion for
8
     summary judgment. Also, a Notice of Voluntary Dismissal does not require a court
9
     Order and is immediately effective on filing. See Pedrina v. Chun (9th Cir. 1993) 987
10
     F2d 608, 610.
11

12

13   IT IS SO NOTICED.
14
     Dated: 04/20/2023                       Lightning Law, APC
15

16
                                             /S/_David C. Wakefield________________
                                             By: DAVID C. WAKEFIELD, ESQ.
17                                           Attorney for all Plaintiffs
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28                                            Dismissal With Prejudice Of Entire Action
                                                            Case# 3:23-cv-00263-W-BGS
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1

2                                     PROOF OF SERVICE
     STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
3
            I employed in the County of San Diego, State of California. I am over the age
4    of 18 and not a party to the within action. My business address is 10620 Treena
     Street, Suite 230, San Diego, CA 92131.
5
            On 04/20/2023, I served the documents described below on all interested
6    parties in the attached service list by the method indicated below:
7
     1.  NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE OF
8    ENTIRE ACTION AFTER SETTLEMENT
9

10

11   ____ BY MAIL - I deposited such envelope in the mail at San Diego, California.
12        The envelope was mailed with postage thereon fully prepaid. I am “readily
          familiar” with the firm’s practice of collection and processing correspondence
13
          for mailing. Under that practice it would be deposited with the U.S. Postal
14        Service on that same day with postage thereon fully prepaid at San Diego,
          California in the ordinary course of business. I am aware that on motion of the
15
          party served, service is presumed invalid if postal cancellation date or postage
16        meter date is more than one (1) day after date of deposit for mailing in
17
          affidavit.

18   ____ BY PERSONAL SERVICE – I caused such envelope to be delivered by a
19        process server.
20
     ____ VIA FACSIMILE – I faxed said document, to the office(s) of the addressee(s)
21        shown above, and the transmission was reported as complete and without error.
22
     XXXX____ BY ECF ELECTRONIC TRANSMISSION – I transmitted a PDF
23       version of this document by electronic transmission to the party (s) identified
24
         on the attached service list using the court supported ECF e-mail to the
         address(s) indicated.
25

26
     ____ BY OVERNIGHT DELIVERY – I deposited such envelope for collection
27                                                                                      3

28                                          Dismissal With Prejudice Of Entire Action
                                                          Case# 3:23-cv-00263-W-BGS
      Case 3:23-cv-00263-W-BGS Document 5 Filed 04/20/23 PageID.91 Page 4 of 4


1         and delivery by the Federal Express with delivery fees paid or provided for in
2         accordance with ordinary business practices. I am “readily familiar” with the
          firm’s practice of collection and processing packages for overnight delivery by
3
          Federal Express. They are deposited with a facility regularly maintained by
4         Federal Express for receipt on the same day in the ordinary course of business.
     ____ (State)      I declare under penalty of perjury under the laws of the State of
5
                       California that the above is true and correct.
6    XX (Federal) I declare that I am employed in the office of a member of the
7
                       bar of this Court at whose direction the service was made.
          At San Diego, California.
8

9
                                    /s/David C. Wakefield_________
                                    DAVID C. WAKEFIELD
10

11
                                      SERVICE LIST
12

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19    Attorney for Defendants
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28                                         Dismissal With Prejudice Of Entire Action
                                                         Case# 3:23-cv-00263-W-BGS
